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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

 DAVID WILLIAMSON, CHASE
 HANSEL, KEITH BECHER,
 RONALD GORDON, JEFFERY
 KOEBERL, CENTRAL FLORIDA
 FREETHOUGHT COMMUNITY,
 SPACE COAST FREETHOUGHT
 ASSOCIATION, and HUMANIST
 COMMUNITY OF THE SPACE
 COAST,

          Plaintiffs,

 v.                                               Case No. 6:15-cv-1098-Orl-28DAB
 BREVARD COUNTY,

          Defendant.



      PLAINTIFFS’ UNOPPOSED MOTION TO PERMIT CASE MANAGEMENT REPORT MEETING
                     TO OCCUR BY TELEPHONIC OR VIDEO CONFERENCE

          The plaintiffs hereby move for an order permitting the Case Management Report

 meeting required by Local Rule 3.05(c)(2)(B) to occur by telephonic or video conference.

 The defendant consents to this motion.

          The Court’s standard “Case Management Report” form provides that, with respect to

 the Case Management Report meeting, “Lead counsel must meet in person and not by

 telephone absent an order permitting otherwise.” See

 http://www.flmd.uscourts.gov/Forms/JgAntoon/JACMR-05-10.pdf, second page.




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        Lead counsel for the plaintiffs is located in Washington, D.C., while lead counsel for

 the defendant is located in Brevard County, Florida. Local Rule 3.01(i) provides, “The use

 of telephonic hearings and conferences is encouraged, whenever possible, particularly when

 counsel are located in different cities.”

        Accordingly, to reduce the expenses associated with this litigation, the plaintiffs

 respectfully ask that this motion be granted.

 Respectfully submitted,

 By: /s/ Alex J. Luchenitser                          Date: July 30, 2015
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                      LOCAL RULE 3.01(G) CERTIFICATE OF COUNSEL

        I hereby certify that I conferred with opposing counsel about the foregoing motion

 and that opposing counsel consents to this motion.

 By: /s/ Alex J. Luchenitser                          Date: July 30, 2015
         Alex J. Luchenitser (Trial Counsel)

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 30, 2015, I electronically filed the foregoing document

 with the Clerk of Court by using CM/ECF, which automatically serves all counsel of record

 for the defendant.

 By: /s/ Alex J. Luchenitser                          Date: July 30, 2015
         Alex J. Luchenitser (Trial Counsel)

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